          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                         CRIMINAL NO. 1:09CR13



UNITED STATES OF AMERICA                  )
                                          )
                                          )
            VS.                           )           ORDER
                                          )
                                          )
KENNETH LEE FOSTER                        )
                                          )


      THIS MATTER is before the Court on Defendant’s motion to dismiss

the bill of indictment filed July 6, 2009. Defendant contends he was never

arraigned on the charges contained in the indictment. Motion to Dismiss

Indictment, filed July 6, 2009, at 3.

      After his arrest on February 6, 2009, the Defendant was charged

along with 14 co-conspirators in a two-count indictment with conspiracy to

possess with intent to distribute crack cocaine, in violation of 21 U.S.C. §§

846 and 841(a)(1), and knowingly using a communication facility to further

the conspiracy charged in Count One, in violation of 21 U.S.C. § 843(b).

Bill of Indictment, filed February 17, 2009. A review of the docket record

and the FTR recording reveals the Defendant appeared with former


   Case 1:09-cr-00013-MR-WCM     Document 289    Filed 07/10/09   Page 1 of 2
                                        2

retained counsel, Timothy D. Smith, for arraignment on February 18, 2009.

During the hearing, Defendant’s counsel expressly waived a formal reading

of the indictment, entered pleas of not guilty to each of the charges

contained therein, and requested a jury trial. Therefore, Defendant’s

contention that he was not arraigned is without merit.

     IT IS, THEREFORE, ORDERED that Defendant’s motion to dismiss

the bill of indictment is DENIED.

                                        Signed: July 10, 2009




   Case 1:09-cr-00013-MR-WCM        Document 289    Filed 07/10/09   Page 2 of 2
